    Case: 1:19-cv-04892 Document #: 18 Filed: 08/22/19 Page 1 of 6 PageID #:127




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 STEPHANIE LUKIS and ROBERT                        )
 FISCHER, individually and on behalf of all        )
 others similarly situated,                        )
                                                   )   Case No. 1:19-cv-04892
                Plaintiffs,                        )
                                                   )   The Honorable Gary Feinerman
        v.                                         )
                                                   )
 INSTANT CHECKMATE, LLC,                           )
                                                   )
                Defendant.                         )

                              JOINT INITIAL STATUS REPORT

       Pursuant to the Court’s standing order, Plaintiffs Stephanie Lukis and Robert Fischer

(“Plaintiffs”) and Defendant Instant Checkmate, LLC (“Instant Checkmate”), by and through their

undersigned counsel, state that they have conferred pursuant to Rule 26(f) of the Federal Rules of

Civil Procedure and hereby submit this Initial Status Report.

       A.      Nature of the Case

               1.      This is a putative class action lawsuit initially filed by Plaintiffs in the

       Circuit Court of Cook County, Illinois, County Department, Chancery Division, styled

       Stephanie Lukis & Robert Fischer v. Instant Checkmate, LLC, Case No. 2019-CH-07517,

       removed to the Northern District of Illinois on July 22, 2019 by Defendant Instant

       Checkmate (ECF Dkt. 1), and later reassigned to this Court on August 8, 2019 (ECF Dkt.

       12). Plaintiffs are represented by Roberto Luis Costales and William Henry Beaumont of

       Beaumont Costales, and Mr. Costales will serve as Plaintiffs’ lead trial counsel. Defendant

       is represented by Damon W.D. Wright of Venable LLP and Natalie Spears of Dentons US,

       LLP, and Mr. Wright and Ms. Spears will serve as Defendant’s lead trial counsel.
Case: 1:19-cv-04892 Document #: 18 Filed: 08/22/19 Page 2 of 6 PageID #:128




         2.      This court has jurisdiction pursuant to the Class Action Fairness Act

  (“CAFA”), codified at 28 U.S.C. §§ 1332(d), which grants federal district courts original

  jurisdiction over a civil class action in which any plaintiff is a citizen of a state different

  from any defendant and the aggregate amount in controversy for all class members exceeds

  $5,000,000.

         3.      Plaintiffs’ complaint alleges that Instant Checkmate violated the Illinois

  Right of Publicity Act, 765 Ill. Comp. Stat. (“ILCS”) 1075/1 et seq. (the “Act”), by

  providing “limited free preview[s]” of its search results which contain the names of Illinois

  residents. (ECF Dkt. No. 1, Ex. A at ¶ 10.) On behalf of the putative class, Plaintiffs’

  complaint seeks: “injunctive and other equitable relief as necessary to protect the interest

  of the Class”; “the greater of actual damages, including the profits derived from the

  unauthorized use of same, or statutory damages in the amount of $1,000 per violation of

  the members of the class”; and “punitive damages where applicable.” (ECF Dkt. No. 1 at

  10, Prayer for Relief 3-5.)

         4.      Instant Checkmate filed a Motion to Dismiss this action on August 21, 2019.

  (ECF Dkt. 14.) Instant Checkmate’s position, as noted in its’ Motion, is that Judge Shah

  has previously considered the identical allegations raised by Plaintiffs’ Complaint,

  examined IRPA’s plain language and well-established case law, and determined that the

  claims asserted by Plaintiffs did not and could not state a claim for relief. See Dobrowolski

  v. Intelius, Inc., No. 17-cv-1406, 2017 WL 3720170, at *9 (N.D. Ill. Aug. 29, 2017);

  Dobrowolski v. Intelius, Inc., No. 17-cv-1406, Dkt. 46 at 5 (N.D. Ill. May 21, 2018).

         5.      This case presents the following legal and factual issues:

              Legal Issues:




                                            2
Case: 1:19-cv-04892 Document #: 18 Filed: 08/22/19 Page 3 of 6 PageID #:129




                   Whether any alleged use by Defendant of Plaintiffs’ identities was not

                    for “commercial purposes” within the meaning of the Act, 765 ILCS

                    1075/5 & 1075/30(a), et seq.;

                   Whether the Act “does not apply” to any alleged use of Plaintiffs’

                    identities because the alleged use(s) were in “promotional materials,

                    advertisements, or commercial announcements” for alleged use(s) with

                    “non-commercial purposes, 765 ILCS 1075/35(b)(2) & (4);

                   Whether the Act “does not apply” to any alleged use of Plaintiffs’

                    identities because the alleged use(s) were in “promotional materials,

                    advertisements, or commercial announcements” for uses in a work that

                    does not itself constitute a commercial advertisement, 765 ILCS

                    1075/35(b)(1) & (4); and

                   Whether Defendant used Plaintiffs’ “identit[ies]” under the meaning of

                    the Act, 765 ILCS 1075/5.

             Factual Issues:

                   Whether and how Defendant allegedly used Plaintiffs’ identities.

                   Whether a class can properly be certified that meets the typicality,

                    commonality, and other requirements for class certification.

                   Whether Plaintiffs suffered any damages as a result of any alleged

                    use(s).

        6.      Instant Checkmate was served with process on June 28, 2019.




                                         3
Case: 1:19-cv-04892 Document #: 18 Filed: 08/22/19 Page 4 of 6 PageID #:130




  B.     Proceedings to Date

         1.      To date, the only substantive ruling has been the reassignment of this case

  to this Court. (ECF Dkt. 12.)

         2.      The only motion currently pending is Instant Checkmate’s Motion to

  Dismiss filed August 21, 2019. (ECF Dkt. 14.)

  C.     Discovery and Case Plan

         The Parties agree and request that all discovery and the Parties’ Joint Discovery

  and Case Plan be stayed pending the resolution of Instant Checkmate’s Motion to Dismiss,

  filed August 21, 2019 (ECF Dkt. 14). To avoid duplication, the Parties adopt the positions

  stated in Whitepages, Inc.’s Unopposed Motion to Stay Discovery, filed on August 21,

  2019 (No. 19-cv-04871, ECF Dkt. 19).

  D.     Settlement

         1.      To date, the Parties have note engaged in settlement discussions.

         2.      At this time, the Parties do not request a settlement conference.

  E.     Magistrate Judge

         1.      The Parties do not consent to proceed before a magistrate judge for all

                 purposes.

         2.      To date, no matters have been referred to the magistrate judge assigned to

                 this case.




                                           4
    Case: 1:19-cv-04892 Document #: 18 Filed: 08/22/19 Page 5 of 6 PageID #:131




Dated: August 22, 2019                      Respectfully submitted,

                                            DENTONS US LLP


                                            /s/ Natalie J. Spears
                                            One of the attorneys for Defendant

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                                               5
       Case: 1:19-cv-04892 Document #: 18 Filed: 08/22/19 Page 6 of 6 PageID #:132




                                    CERTIFICATE OF SERVICE

            I hereby certify that on this 22nd day of August 2019 a copy of the foregoing was filed

electronically via the ECF filing system.




                                                 /s/ Natalie J. Spears


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